Case 1:14-cr-00652-PGG Document2_ Filed 10/01/14 Pagelof3

ORIGINAL

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
SEALED
- Vv. - INDICTMENT

OSCAR PALMER,

23 -
aia, TACRMSS2
DERY CABAN, fe Oa fo i

a/k/a “Dery Martinez,”
a/k/a “Popeye,” and
LUIS TRUJILLO,

| USDC SDNY
Defendants. : ‘DOCUMENT
8 g “ELECTRONICALLY FILED
DOC #:
COUNT ONE 'DATE FILED: lols
The Grand Jury charges: eae
1. On or about August 11, 2002, in the Southern District

of New York and elsewhere, OSCAR PALMER, a/k/a “Tito,” DERY CABAN,
a/k/a “Dery Martinez,” a/k/a “Popeye,” and LUIS TRUJILLO, the
defendants, willfully and knowingly, during and in relation to a drug
trafficking crime for which they may be prosecuted in a court of the
United States, namely, a conspiracy to distribute and possess with
the intent to distribute mixtures and substances containing a
detectable amount of cocaine, in or about 2002, in the vicinity of
Franklin Avenue and East 169™ Street, Bronx, New York, in violation
of Title 21, United States Code, Section 846, did use and carry
firearms, and, in furtherance of such crime, did possess firearms,

and did aid and abet the use, carrying, and possession of firearms,
Case 1:14-cr-00652-PGG Document2_ Filed 10/01/14 Page2of3

and in the course of that crime did cause the death of a person through
the use of firearms, which killing is murder as defined in Title 18,
United States Code, Section 11l11(a), to wit, PALMER, CABAN, and

TRUJILLO caused the death of Andrew Balcarran, by discharging, and
aiding and abetting the discharge of, firearms at Balcarran, in the
vicinity of Franklin Avenue and East 169°" Street, Bronx, New York.

(Title 18, United States Code, Sections 924(j) and 2.)

Lh, Preaek Briar
ORE ON PREET BHARARA K
United States Attorney

Case 1:14-cr-00652-PGG Document2_ Filed 10/01/14 Page3of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
- Vv . -
OSCAR PALMER, a/k/a “Tito,”
DERY CABAN, a/k/a “Dery Martinez,”
a/k/a “Popeye,” and LUIS TRUJILLO,

Defendants.

SEALED INDICTMENT

14 CR --

{18 U.S.C. §§ 924 (4), 2.)

PREET BHARARA
United States Attorney.

A TRUE BILL

fO+1-1¢

os YW De lhed gees
Lo bye th fb
PAM
